      Case: 1:12-cv-08176 Document #: 1 Filed: 10/11/12 Page 1 of 5 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Shelia Walker,                             )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No.    12 C 8176
                                           )
Mercantile Adjustment Bureau, LLC, a       )
New York limited liability company,        )
                                           )
       Defendant.                          )      Jury Demanded

                                        COMPLAINT

       Plaintiff, Shelia Walker, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.      Plaintiff, Shelia Walker (“Walker"), is a citizen of the State of Alabama,

from whom Defendant attempted to collect a delinquent consumer debt, despite the fact

that she was represented by the legal aid attorneys at the Chicago Legal Clinic's Legal

Advocates for Seniors and People with Disabilities program ("LASPD"), located in

Chicago, Illinois.
       Case: 1:12-cv-08176 Document #: 1 Filed: 10/11/12 Page 2 of 5 PageID #:2




        4.    Defendant, Mercantile Adjustment Bureau, LLC (“MAB”), is a Delaware

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. Defendant MAB operates a nationwide debt

collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. In fact, Defendant MAB was acting as

a debt collector, as that term is defined in the FDCPA, as to the delinquent consumer

debts it attempted to collect from Plaintiff.

        5.    Defendant MAB is authorized to conduct business in the State of Illinois,

and maintains a registered agent within the State of Illinois. See, record from the Illinois

Secretary of State, attached as Exhibit A. In fact, Defendant MAB conducts business in

Illinois.

        6.    Moreover, Defendant MAB is licensed as a debt collection agency in the

State of Illinois, see, record from the Illinois Division of Professional Regulation,

attached as Exhibit B. In fact, Defendant MAB acts as a collection agency in Illinois.

                                 FACTUAL ALLEGATIONS

        7.    Ms. Walker is a disabled senior citizen, with limited assets and income,

who fell behind on paying her bills. When MAB began trying to collect a debt from Ms.

Walker, allegedly owed to Regional Acceptance for a car loan, she sought the

assistance of the legal aid attorneys at the Chicago Legal Clinic’s LASPD program,

regarding her financial difficulties and Defendant MAB’s collection actions.

        8.    Accordingly, on October 1, 2012, one of Ms. Walker's attorneys at LASPD

informed MAB, in writing, that Ms. Walker was represented by counsel, and directed



                                                2
      Case: 1:12-cv-08176 Document #: 1 Filed: 10/11/12 Page 3 of 5 PageID #:3




MAB to cease contacting her, and to cease all further collection activities because Ms.

Walker was forced, by her financial circumstances, to refuse to pay her unsecured

debts. Copies of this letter and fax confirmation are attached as Exhibit C.

       9.    Nonetheless, Defendant MAB directly called Ms. Walker, including, but not

limited to a telephone call on October 10, 2012 from telephone number 866-851-0082

ext. 8264, demanding payment of a debt.

       10.   Accordingly, on October 10, 2012, one of Ms. Walker’s LASPD attorneys

had to write to Defendant MAB again to demand that it cease communications and

cease collection of the debt. Copies of this letter and fax confirmation are attached as

Exhibit D.

       11.   Defendant MAB’s collection actions complained of herein occurred within

one year of the date of this Complaint.

       12.   Defendant MAB’s collection communications are to be interpreted under

the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       13.   Plaintiff adopts and realleges ¶¶ 1-12.

       14.   Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

       15.   Here, the letter from Ms. Walker’s, agent/attorney, LASPD, told Defendant



                                            3
      Case: 1:12-cv-08176 Document #: 1 Filed: 10/11/12 Page 4 of 5 PageID #:4




MAB to cease communications and cease collections (Exhibit C). By continuing to

communicate regarding this debt and demanding payment, Defendant MAB violated §

1692c(c) of the FDCPA.

      16.    Defendant MAB’s violation of § 1692c(c) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debts and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant MAB knew that Ms. Walker was represented by counsel in

connection with her debts because her attorneys at LASPD had informed Defendant, in

writing (Exhibit C), that she was represented by counsel, and had directed Defendant

MAB to cease directly communicating with her. By directly calling Ms. Walker, despite

being advised that she was represented by counsel, Defendant MAB violated §

1692c(a)(2) of the FDCPA.

      20.    Defendant MAB’s violation of § 1692c(a)(2) of the FDCPA renders it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.




                                           4
      Case: 1:12-cv-08176 Document #: 1 Filed: 10/11/12 Page 5 of 5 PageID #:5




                                  PRAYER FOR RELIEF

       Plaintiff, Shelia Walker, prays that this Court:

       1.     Find that Defendant MAB’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Walker, and against Defendant MAB,

for actual and statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Shelia Walker, demands trial by jury.

                                                     Shelia Walker,

                                                     By: /s/ David J. Philipps________
                                                     One of Plaintiff’s Attorneys

Dated: October 11, 2012

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